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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐x
PRIMITIVO ROBLES,                                             :
                                                              :
                         Plaintiff,                           :      24‐CV‐7548 (JAV) (OTW)
                                                              :
                      ‐against‐                               :      INITIAL CASE MANAGEMENT
                                                              :      CONFERENCE ORDER
HG PUTNAM INC.,
                                                              :
                         Defendant.                           :
                                                              :
                                                              :
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐x

         ONA T. WANG, United States Magistrate Judge:

         An Initial Pretrial Conference in accordance with Rule 16(b) of the Federal Rules of Civil

Procedure will be held on Wednesday, July 30, 2025 at 11:00 a.m. in Courtroom 20D, 500 Pearl

Street, New York, NY 10007.


         Rule 16(b) Conference. The parties are required to discuss at the conference the

subjects set forth in Rule 16(b) and (c) of the Federal Rules of Civil Procedure. In any action in

which subject matter jurisdiction is founded on diversity of citizenship pursuant to 28 U.S.C.

§ 1332, the party asserting the existence of such jurisdiction must be prepared to discuss at the

conference the basis for that party’s belief that diversity of citizenship exists. Where any party

is a corporation, counsel shall provide both the place of incorporation and the principal place of

business. In cases where any party is a partnership, limited partnership, limited liability

company or trust, counsel shall provide the citizenship of each of the entity’s members,

shareholders, partners or trustees.
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       Rule 26(f) Conference. Counsel for the parties are directed to confer at least 21 days

before the date of the Initial Case Management Conference to discuss the matters set forth in

Rule 26(f) of the Federal Rules of Civil Procedure. The parties shall comply with their Rule 26(a)

initial disclosure obligations no later than 14 days after the parties’ Rule 26(f) conference.


       Proposed Scheduling Order. Parties are directed to complete the Report of Rule 26(f)

Meeting and Proposed Case Management Plan, available at

https://www.nysd.uscourts.gov/hon‐ona‐t‐wang, and file it via ECF one week before the Initial

Conference, i.e., by Wednesday, July 23, 2025.


       Counsel who disagree about the dates or other terms of the proposed schedule shall

submit a joint letter briefly explaining the dispute. Such letter, if any, must be submitted one

week before the Initial Conference, i.e., by Wednesday, July 23, 2025. The letter shall be filed

via ECF.


       Attendance. Counsel attending must be authorized to make stipulations and admissions

about all matters that can reasonably be anticipated for discussion at a pretrial conference.


       Consent to Proceed Before the Magistrate Judge. The parties shall discuss whether

they consent to conduct all proceedings, including a trial, before the undersigned Magistrate

Judge pursuant to 28 U.S.C. § 636(c). If all parties consent, they shall complete the Consent to

Proceed Before a U.S. Magistrate Judge form available on the Court’s website at

http://nysd.uscourts.gov/file/forms/consent‐to‐proceed‐before‐us‐magistrate‐judge and file

such form with the assigned District Judge before the Initial Pretrial Conference.


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       ECF. This case has been designated an electronic case. Counsel for all parties are

required to register as filing users in accordance with the Procedures for Electronic Case Filing

promptly upon appearing in the case.


       Counsel shall familiarize themselves with the Court’s individual rules, available at

https://www.nysd.uscourts.gov/hon‐ona‐t‐wang.


       Counsel who have entered an appearance as of the date of this order are directed to

notify all other parties’ attorneys in this action by serving upon each of them a copy of this

order. If unaware of the identity of counsel for any of the parties, counsel receiving this order

must send a copy of this order to that party personally.


       SO ORDERED.



                                                             s/ Ona T. Wang
Dated: May 6, 2025                                         Ona T. Wang
       New York, New York                                  United States Magistrate Judge




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